12-12020-mg   Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 1 of 122




      EXHIBIT 4
       PART 3
12-12020-mg   Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 2 of 122
12-12020-mg   Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 3 of 122
12-12020-mg   Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 4 of 122
12-12020-mg   Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 5 of 122
12-12020-mg   Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 6 of 122
12-12020-mg   Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 7 of 122
12-12020-mg   Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 8 of 122
12-12020-mg   Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 9 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 10 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 11 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 12 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 13 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 14 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 15 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 16 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 17 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 18 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 19 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 20 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 21 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 22 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 23 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 24 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 25 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 26 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 27 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 28 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 29 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 30 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 31 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 32 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 33 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 34 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 35 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 36 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 37 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 38 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 39 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 40 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 41 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 42 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 43 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 44 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 45 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 46 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 47 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 48 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 49 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 50 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 51 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 52 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 53 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 54 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 55 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 56 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 57 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 58 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 59 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 60 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 61 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 62 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 63 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 64 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 65 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 66 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 67 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 68 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 69 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 70 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 71 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 72 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 73 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 74 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 75 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 76 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 77 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 78 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 79 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 80 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 81 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 82 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 83 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 84 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 85 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 86 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 87 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 88 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 89 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 90 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 91 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 92 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 93 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 94 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 95 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 96 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 97 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 98 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 99 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 100 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 101 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 102 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 103 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 104 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 105 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 106 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 107 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 108 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 109 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 110 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 111 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 112 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 113 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 114 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 115 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 116 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 117 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 118 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 119 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 120 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 121 of 122
12-12020-mg    Doc 3358-6 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 3 Contract Attorney Documentation Pg 122 of 122
